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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

     IN RE PAYMENT CARD INTERCHANGE                          No. 05-md-01720 (MKB) (VMS)
     FEE AND MERCHANT DISCOUNT
     ANTITRUST LITIGATION                                    PLAINTIFF'S STIPULATION AND
                                                             ORDER OF DISMISSAL WITH
     This Document Relates to:                               PREJUDICE OF ALL CLAIMS

     The Walt Disney Company v. Visa Inc., et al.,
     No. 22-cv-04489 (E.D.N.Y.) (MKB) (VMS).




          WHEREAS The Walt Disney Company ("Plaintiff'), in the action captioned The Walt

  Disney Company v. Visa Inc., et al., No. 22-cv-04489 (E.D.N.Y.), which action is included in In

  re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, No. l :05-md-

  01720 (E.D.N.Y.), having fully settled all of its claims against all of the defendants in The Walt

  Disney Company action - i.e., Visa Inc., Visa U.S.A. Inc., and Visa International Service

  Association (collectively the "Visa Defendants"), and Mastercard International Incorporated and

   Mastercard Incorporated (collectively the "Mastercard Defendants") - by and through its

   undersigned counsel hereby stipulates and agrees, pursuant to Federal Rule of Civil Procedure

   41 (a), that the Plaintiff's claims and action against the Visa Defendants and the Mastercard

   Defendants be dismissed with prejudice, with each side to bear its own attorneys' fees and costs,

   provided that the Court retains continuing and exclusive jurisdiction to resolve any matter arising

   out of or relating to the parties' settlement agreement or this Stipulation and Order of Dismissal,

   or their applicability to any suit, action, proceeding, or dispute.

          Accordingly, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that (I) the

   Court will retain continuing and exclusive jurisdiction to resolve any matter arising out of or

   relating to the parties' settlement agreement or this Stipulation and Order of Dismissal, or their
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   applicability to any suit, action. proceeding, or dispute, and (2) the claims and action of the

  Plaintiff be and hereby are dismissed with prejudice, with each side to bear its own attorneys'

  fees and costs.

  Dated: � �           J , 2022.
                                                     CHAFFETZ LINDSEY LLP




                                                          NewYork,
                                                          (212) 257-6925
                                                          sanford.litvack@chaffetzlindsey.com

                                                     Attorneysfor Plaintiff


                                                     ARNOLD & PORTER KAYE SCHOLER
                                                     LLP


                                                     By:� (
                                                        Robert C. Mason
                                                                              0�
                                                        250West 55th Street
                                                        NewYorlc, NY 10019-9710
                                                        (212) 836-8000
                                                        robert.mason@arnoldporter.com

                                                          Robert J. Vfaas
                                                          Three Embarcadero Center, 10th Floor
                                                          San Francisco, CA 94111-4024
                                                          (415) 471-3100
                                                          robert.vizas@arnoldporter.com

                                                          Anne P. Davis
                                                          Matthew A. Eisenstein
                                                          601 Massachusetts Avenue, NW
                                                          Washington. DC 20001-3743
                                                          (202) 942-5000
                                                          anne.davis@arnoldporter.com
                                                          matthew.eisenstein@arnoldporter.com




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                                      HOLWELL SHUSTER & GOLDBERG LLP

                                          Michael S. Shuster
                                          Demian A. Ordway
                                          Blair E. Kaminsky
                                          425 Lexington Avenue
                                          New York, NY 10017
                                          (646) 837-5151
                                          mshuster@hsgllp.com
                                          dordway@hsgllp.com
                                          bkaminsky@hsgllp.com

                                      Attorneys for Defendants Visa Inc., Visa US.A.
                                      Inc., and Visa International Service Association


                                      PAUL, WEISS, RIFKIND, WHARTON &
                                      GARRISO    LP




                                           Kenneth A. Gallo
                                           Donna M. Ioffredo
                                           2001 K Street, NW
                                           Washington, DC 20006-104 7
                                           (202) 223-7300
                                           kgallo@paulweiss.com
                                           dioffredo@paulweiss.com

                                      Attorneys for Defendants Mastercard
                                      Incorporated and Mastercard International
                                      Incorporated


 SO ORDERED:

 Dated:


 Brooklyn, New York                    United States District Judge



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